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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                                           Case No: 3:03cr127/LAC
                                                                     3:06cv220/LAC/MD
ROBERT PETTWAY


                                          ORDER

       The defendant has filed an application for certificate of appealability which the court
also construes as a notice of appeal. (Doc. 431, 432). Unless a certificate of appealability
is issued, the defendant may not take an appeal from the final order denying Section 2255
relief. See 28 U.S.C. 2253(c)(1)(B). Because the defendant has not made a substantial
showing of the denial of a constitutional right, and for the reasons set forth in this court’s
September 6, 2006 order (doc. 420) adopting and incorporating the Magistrate Judge’s
Report and Recommendation to which no objections were filed (doc. 417), his request for
a certificate of appealability is DENIED. Defendant’s motion for leave to proceed in forma
pauperis (doc. 433) should also be denied, as the court finds the appeal is not taken in
good faith and defendant is not otherwise entitled to so proceed Fed.R.App.P. 24(a)(3).
Defendant shall pay the $455.00 filing fee within thirty days.




       DONE AND ORDERED this 20th day of December, 2006.


                                           s /L.A. Collier
                                           LACEY A. COLLIER
                                           SENIOR UNITED STATES DISTRICT JUDGE
